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                           EXHIBIT D
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                              SAUDI ARABIA
                                                                     NOTICE OF AMENDMENT
-----------------------------------------------------------------X

This document relates to: ________________________________________________________,

No. ___________________.

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

above-referenced matter, ECF No. _________, as permitted and approved by the Court’s Order

of June ___, 2018, ECF No. _________. Upon the filing of this Notice of Amendment, the

underlying Complaint is deemed amended to add the individual(s) listed below (the “New

Plaintiff(s)”) as plaintiff(s) raising claims against the Kingdom of Saudi Arabia. The underlying

Complaint is deemed amended to include the factual allegations, jurisdictional allegations, and

jury trial demand, as indicated below, of (a) the Consolidated Amended Complaint as to the

Kingdom of Saudi Arabia, ECF No. 3463, or (b) the Complaint Against the Kingdom of Saudi

Arabia, Ashton v. Kingdom of Saudi Arabia, No. 17-CV-2003 (GBD)(SN) (S.D.N.Y. Mar. 30,

2017), ECF No. 1, as well as all causes of action specified below. The amendment effected

through this Notice of Amendment supplements by incorporation into, but does not displace, the

underlying Complaint. This Notice of Amendment relates solely to the Kingdom of Saudi Arabia

and does not apply to any other defendant.

         Upon filing this Saudi Arabia Notice of Amendment, each New Plaintiff is deemed to

have adopted all factual and jurisdictional allegations of the complaint that has been joined as




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specified below; all prior filings in connection with that complaint; and all prior Orders and

rulings of the Court in connection with that complaint.

                                     CAUSES OF ACTION

       Each New Plaintiff hereby adopts and incorporates herein by reference the following

factual allegations, jurisdictional allegations, and jury trial demand in the following complaint

[check only one complaint] and the following causes of action set forth in that complaint:

               Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF
               No. 3463 (check all causes of action that apply)

                       COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to
                       Commit the September 11th Attacks upon the United States in violation of
                       18 U.S.C. § 2333(d) (JASTA).

                       COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to
                       Commit the September 11th Attacks upon the United States in violation of
                       18 U.S.C. § 2333(a).

                       COUNT III – Committing Acts of International Terrorism in violation of
                       18 U.S.C. § 2333.

                       COUNT IV – Wrongful Death.

                       COUNT VI – Alien Tort Claims Act.

                       COUNT VII – Assault and Battery.

                       COUNT VIII – Conspiracy.

                       COUNT IX – Aiding and Abetting.

                       COUNT X – Intentional Infliction of Emotional Distress.

                       COUNT XII – Liability Pursuant to Restatement (Second) of Torts § 317
                       and Restatement (Third) of Agency § 7.05: Supervising Employees and
                       Agents.

                       COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317
                       and Restatement (Third) of Agency § 7.05: Hiring, Selecting, and
                       Retaining Employees and Agents.

                       COUNT XIV – 18 U.S.C. § 1962(a)–(d) – CIVIL RICO.

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            COUNT XV – Trespass.

            COUNT XVI – Violations of International Law.

      Complaint Against the Kingdom of Saudi Arabia, Ashton v. Kingdom of
      Saudi Arabia, No. 17-CV-2003 (GBD)(SN) (S.D.N.Y. Mar. 30, 2017), ECF
      No. 1 (check all causes of action that apply)

            First Cause of Action to Recover Wrongful Death Damages Pursuant to 28
            U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
            JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

            First Cause of Action to Recover Personal Injury Damages Pursuant to 28
            U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
            JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

            Second Cause of Action for Wrongful Death Damages Pursuant to State
            Tort Law

            Second Cause of Action for Personal Injury Damages Pursuant to State
            Tort Law

            Third Cause of Action for Wrongful Death Damages Pursuant to the Alien
            Tort Claims Act

            Third Cause of Action for Personal Injury Damages Pursuant to the Alien
            Tort Claims Act




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                          IDENTIFICATION OF NEW PLAINTIFFS

       Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks

of September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s

name, the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased

family member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the

underlying Complaint discussing the decedent and/or the decedent’s estate.

     New Plaintiff’s      New           New Plaintiff’s   9/11           New Plaintiff’s   Paragraphs
     Name (alphabetical   Plaintiff’s   Citizenship/      Decedent’s     Relationship to   of Complaint
     by last name)        State of      Nationality on    Name           9/11 Decedent     Discussing
                          Residency     9/11/2001                                          9/11
                          at Filing                                                        Decedent
                          (or death)
 1

 2

 3

 4

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Dated: ____________________



                                                          Respectfully submitted,



                                                          ____________________________________

                                                          COUNSEL FOR PLAINTIFFS




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